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                        Exhibit E
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tl               Retv11eete
     Bakari Sellers •~ @Bakari_Sellers • Jan 30, 2019                          V


     Roger Stone has y'aU talking about revie\.ying use of-force guidelines.

     Not Alton Sterling
     Not Eric Gardner
     Not Walter
     Not Sandra Bland
     Not Keith Lamont Scott
     Not Philando Castile
     Not Terence Crutcher
     Not Dontre Hamilton


     But Roger Stone!!! Think about that

     0   1.SK                 't1. 27.2K        C) 81.BK               ~
